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                       IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, NORTHERN DIVISION

   SECURITIES AND EXCHANGE
   COMMISSION,                                DECLARATION OF JESSE M. DAVES,
         Plaintiff,                           CPA/CFF, CFE
   v.
   DIGITAL LICENSING INC. (d/b/a              Case No. 2:23-cv-00482-RJS
   “DEBT Box”), a Wyoming corporation;
   JASON R. ANDERSON, an individual;          Judge Robert J. Shelby
   JACOB S. ANDERSON, an individual;          Magistrate Judge Dustin B. Pead
   SCHAD E. BRANNON, an individual;
   ROYDON B. NELSON, an individual;
   JAMES E. FRANKLIN, an individual;
   WESTERN OIL EXPLORATION
   COMPANY, INC., a Nevada corporation;
   RYAN BOWEN, an individual; IX
   GLOBAL, LLC, a Utah limited liability
   company; JOSEPH A. MARTINEZ, an
   individual; BENJAMIN F. DANIELS, an
   individual; MARK W. SCHULER, an
   individual; B & B INVESTMENT
   GROUP, LLC (d/b/a “CORE 1
   CRYPTO”), a Utah limited liability
   company; TRAVIS A. FLAHERTY, an
   individual; ALTON O. PARKER, an
   individual; BW HOLDINGS, LLC (d/b/a
   the “FAIR PROJECT”), a Utah limited
   liability company; BRENDAN J.
   STANGIS, an individual; and MATTHEW
   D. FRITZSCHE, an individual,
         Defendants,

   ARCHER DRILLING, LLC, a Wyoming
   limited liability company; BUSINESS
   FUNDING SOLUTIONS, LLC, a Utah
   limited liability company; BLOX LENDING,
   LLC, a Utah limited liability company;
   CALMFRITZ HOLDINGS, LLC, a Utah
   limited liability company; CALMES & CO,
   INC., a Utah corporation; FLAHERTY
   ENTERPRISES, LLC, an Arizona limited
   liability company; IX VENTURES FZCO, a
   United Arab Emirates company; PURDY

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   OIL, LLC, a Nebraska limited liability
   company; THE GOLD COLLECTIVE LLC,
   a Utah limited liability company; and UIU
   HOLDINGS, LLC, a Delaware limited
   liability company,

          Relief Defendants.

          DECLARATION OF JESSE M. DAVES, CPA/CFF, CFE IN SUPPORT OF
                RECEIVER’S FIRST AND FINAL FEE APPLICATION

         I, Jesse M. Daves, CPA/CFF, CFE, declare and state as follows:

         1.         I am over the age of majority and have personal knowledge of the matters set forth

  herein. I am competent in all respects to make the statements set forth in this declaration.

         2.         BDO USA, P.C. (“BDO”) was engaged by Holland & Knight LLP (“H&K”) to

  serve as forensic accounting consultants to the Court-appointed temporary receiver, Josias N.

  Dewey (“Receiver”), in the above captioned matter and submit this declaration in support of the

  Receiver’s First and Final Fee Application (“Application”).

         3.         My position at BDO is Principal.

         4.         I have over 25 years of experience providing audit, forensic accounting and

  investigative services. I have experience on similar matters, including a receivership and multiple

  bankruptcies primarily based in Houston, Texas and many domestic and international

  investigations.

         5.         BDO is a national firm with standard hourly rates that range from $230 for Staff to

  $995 for senior level Principals/Partners. These rates are standard nationally, including Salt Lake

  City, Utah. For this matter, BDO applied an approximate 25% discount from our standard rates.

  The table below reflects BDO’s hourly standard rates and rates billed as part of this Receivership.




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                                                           Standard     Billed
                                       Level
                                                          Hourly Rate Hourly Rate

                          Partner/Principal               $       995    $450 - $650
                          Managing Director               $       690    $       500
                          Director                        $       650    $       400
                          Senior Manager                  $       545    $325 - $350
                          Manager                         $410 - $440    $295 - $350
                          Senior Associate                $325 - $345    $       295
                          Associate                       $230 - $250    $125 - $195


         6.      BDO provided forensic accounting services including tracing inflows and outflows

  of fiat currency involving the bank accounts of Digital Licensing, Inc., and certain Defendants and

  Relief Defendants. BDO also analyzed other financial and accounting records (e.g., loan

  documents and real estate closing documents, etc.) that provided additional details for certain

  transactions within the bank accounts. BDO’s team also supported the preservation and collection

  of digital assets identified during the course of the Receivership, including cloud server data, email

  domains and associated emails and other identified cloud-based environments. BDO also

  performed complex forensic analysis and monitoring of blockchain-based digital asset wallets,

  related blockchain transactions, and a cloud-based digital asset server associated with the

  Defendants and Relief Defendants. This work required specialized staff and technology to perform

  forensic blockchain data analysis.

         7.      All fees contained in BDO’s invoices are based on the approximate 25% discount

  from our standard rates listed therein and, BDO further reduced its invoices by another 30%,

  slightly over $110,000, to assist with the Receivership transition, which is included on our

  invoices. BDO did not bill for any travel time, resulting in $25,698.50 in further discounts not

  reflected on our invoices. Furthermore, BDO did not bill for any time related to the dissolution of

  the Receivership.

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         8.      To the best of my knowledge, information and belief formed after reasonable

  inquiry, all fees and expenses of BDO are true and accurate and comply with the Billing

  Instructions for Receivers in Civil Actions Commenced by the U.S. Securities and Exchange

  Commission.

         9.      All fees contained in BDO’s invoices are based on the rates listed therein, and such

  fees are reasonable, necessary and commensurate with the skill and experience required for the

  activity performed.

         10.     The amount for which reimbursement is sought in the Application does not include

  the amortization of the cost of any investment, equipment, or capital outlay.

         11.     The requests for reimbursement of services that were justifiably purchased or

  contracted from third parties (such as airfare, hotel, or other reimbursable travel expenses) include

  only the amount billed to BDO by the third party vendor and paid to such vendor.

         I declare under criminal penalty of law of Utah that the foregoing is true and correct.

  DATED this 17th day of April, 2024.


                                                /s/ Jesse M. Daves
                                                Jesse M. Daves




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